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                                           No. 21-4299

                                               In the

             United States Court of Appeals
                                For the Fourth Circuit
                                       __________________

                                 UNITED STATES OF AMERICA,
                                                                               Appellee,
                                                 v.
                                       AUSTIN KYLE LEE,
                                                                              Appellant.
                                       _________________
                          On Appeal from the United States District Court
                             for the Eastern District of North Carolina
                         Honorable Louise Wood Flanagan, District Judge;
                        Honorable Robert T. Numbers, II, Magistrate Judge;
                                     Case No. 7:18-cr-153-FL
                                       __________________
                              OPENING BRIEF OF APPELLANT
                                   __________________
         Nicholas J. Giles             Sean A. McClelland             Arin Melissa Brenner
         George E. Rudebusch           MCGUIREWOODS LLP               OFFICE OF THE FEDERAL
         MCGUIREWOODS LLP              888 16th Street N.W.           PUBLIC DEFENDER
         Gateway Plaza                 Suite 500                      210 First Street NW
         800 East Canal Street         Black Lives Matter Plaza       Suite 400
         Richmond, VA 23219            Washington, DC 20006           Roanoke, VA 24011
         T: (804) 775-4760             smcclelland@mcguirewoods.com   arin_brenner@fd.org
         F: (804) 698-2040
         ngiles@mcguirewoods.com
         grudebusch@mcguirewoods.com




                               Counsel for Appellant Austin Kyle Lee
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                                        INTRODUCTION

              After Appellant Austin Kyle Lee was indicted for several drug offenses, the

        government made clear its intent to seek an enhanced penalty due to Mr. Lee’s prior

        conviction for a “serious drug felony.” Under the recently passed First Step Act, a

        “serious drug felony” has three components: (1) the offense must be punishable by

        up to ten years in prison, (2) the offender must have actually served more than twelve

        months, and (3) no more than fifteen years must have elapsed between the offender’s

        release and his commission of the new offense. See 21 U.S.C. § 802(57). Citing

        both Department of Justice policy and the Supreme Court’s decision in Apprendi v.

        New Jersey, the government proposed to submit these three discrete questions to the

        jury. Mr. Lee joined in this request, further noting that he intended to dispute that

        the enhancement’s definitional components had been satisfied.

              The district court declined the parties’ request. The definitional components

        had to be decided by the court under the First Step Act, the court reasoned, and

        because the inquiry was limited to the mere fact of a prior conviction, judicial fact-

        finding was consistent with the Sixth Amendment under the Supreme Court’s

        decision in Almendarez-Torres v. United States.

              The district court was mistaken. Cases since Almendarez-Torres—both in the

        Supreme Court and this one—have drawn a clear line between the fact of a prior

        conviction and facts about a prior conviction. The former is little more than a data



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        point, easily discernible from judicial records underpinning the conviction, and may

        be determined by a judge without constitutional concern. The latter, however,

        implicates the Sixth Amendment when used to increase a defendant’s sentence.

        Facts about a conviction stray beyond the sterile nub of a court’s judgment, seeking

        information unique both to the offender and the circumstances. Those facts must be

        found by a jury.

              The district court ignored this settled law. After an evidentiary hearing during

        which Mr. Lee disputed that his prior conviction qualified, the district court made

        factual findings and declared a winner, ruling that the government had satisfied its

        burden. With the enhancement applied, Mr. Lee’s mandatory minimum sentence

        grew from ten years to fifteen on the eligible counts. Because the district court, and

        not a jury, made the factual findings necessary for that enhancement, Mr. Lee’s

        constitutional rights were violated. He now appeals and seeks vacatur of the

        unlawful sentence.

                               JURISDICTIONAL STATEMENT

              Mr. Lee appeals directly from his conviction and sentencing in federal court.

        The district court entered judgment on June 14, 2021. JA 1025–33. Mr. Lee timely

        appealed on the same day. JA 1024. This Court has jurisdiction pursuant to 28

        U.S.C. § 1291.




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                                     STATEMENT OF ISSUES

        1.    Did the district court err in determining that Mr. Lee had a prior “serious drug

              felony” conviction—an element of the offense because it increased the

              mandatory minimum sentence Mr. Lee faced—without submitting to the jury

              factual issues necessary to that finding? (Yes.)


                                    STATEMENT OF THE CASE

               On February 8, 2021, a jury found Mr. Lee guilty of seven drug-related

        offenses. Notably, the jury convicted Mr. Lee of conspiracy to distribute certain

        quantities of controlled substances under 21 U.S.C. §§ 841(a)(1) and 846 (“Count

        One”), and possession with intent to distribute under 21 U.S.C. § 841(a)(1) (“Count

        Five”). JA 959–61. Given the drug weights at issue, Counts One and Five carried

        a mandatory minimum sentence of ten years’ imprisonment under 21 U.S.C.

        § 841(b)(1)(A). And that same provision also increased the mandatory minimum

        sentence to fifteen years’ imprisonment for offenders with certain prior convictions.

        21 U.S.C. § 841(b)(1)(A).

              Historically, the government could seek the enhanced penalty under

        § 841(b)(1)(A) if a defendant had a prior conviction for a “felony drug offense.” See

        First Step Act, Pub. L. No. 115-391, § 401, 132 Stat. 5194, 5220 (2018) (striking

        “felony drug offense” from 21 U.S.C. § 841(b)(1)(A)). The term “felony drug




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        offense” referred—quite simply—to any drug offense punishable by imprisonment

        for more than one year. See 21 U.S.C. § 802(44) (2016).

              But with the First Step Act of 2018, Congress rendered the § 841(b)(1)(A)

        enhancement considerably more complex—and far narrower—by replacing “felony

        drug offense” with “serious drug felony.” See Pub. L. No. 115-391, § 401, 132 Stat.

        5194, 5220 (2018). A “serious drug felony,” Congress determined, is “an offense

        described in section 924(e)(2) of title 18 [] for which . . . the offender served a term

        of imprisonment of more than 12 months . . . [and] the offender’s release from any

        term of imprisonment was within 15 years of the commencement of the instant

        offense.” Pub. L. No. 115-391, § 401, 132 Stat. at 5220. The offenses described

        under § 924(e)(2) include drug offenses punishable by “a maximum term of

        imprisonment of ten years or more” under state or federal law, as well as violent

        felonies. 18 U.S.C. § 924(e)(2)(A).

              Accordingly, following the First Step Act, the government may seek the

        increased mandatory minimum sentence under § 841(b)(1)(A) only after proving

        three facts: (1) the defendant has a prior conviction of either a drug offense

        punishable by at least ten years in prison or a violent felony; (2) the defendant

        actually served more than twelve months in prison for the prior conviction; and (3)

        the defendant commenced the instant offense within fifteen years of release from

        imprisonment for the prior conviction. 21 U.S.C. § 802(57); see also United States



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        v. Wiseman, 932 F.3d 411, 417 (6th Cir. 2019), cert. denied, 140 S. Ct. 1237 (2020)

        (noting that “[a] ‘serious drug felony’ . . . covers a smaller set of crimes . . . for

        which (A) the offender served a term of imprisonment of more than 12 months; and

        (B) the offender’s release from any term of imprisonment was within 15 years of the

        commencement of the instant offense”).

              Section 851 sets forth the procedure for establishing such a prior conviction

        under § 841(b)(1)(A). The government must file notice1 with the court of its intent

        to rely on the defendant’s prior conviction. 21 U.S.C. § 851(a)(1). If the government

        files a notice, the court must, “after conviction but before pronouncement of

        sentence[,] inquire . . . whether [the defendant] affirms or denies that he [or she] has

        been previously convicted as alleged” in the government’s notice. 21 U.S.C. §

        851(b). If the defendant denies the prior conviction and files a written response, the

        court must hold a hearing “without a jury.” 21 U.S.C. § 851(c)(1). At the hearing,

        “either party may introduce evidence,” but the government bears “the burden of

        proof beyond a reasonable doubt on any issue of fact,” and the court must enter

        “findings of fact and conclusions of law” at the request of either party. 21 U.S.C. §

        851(c)(1). The court must sentence the defendant to the enhanced penalty if it



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          “[A]lthough § 851(a) requires that the government file ‘an information,’ the
        document is often referred to as a ‘notice.’” United States v. Clarke, 237 F. App’x
        831, 833 (4th Cir. 2007) (citing United States v. LaBonte, 520 U.S. 751, 754 n.1
        (1997)).

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        determines that the fact of prior conviction subjects the defendant to increased

        punishment. 21 U.S.C. § 851(d)(1).

              Here, the government sought to impose the increased mandatory minimum

        sentence under § 841(b)(1)(A) on Mr. Lee due to a prior drug conviction. In

        accordance with § 851(a)(1), the government filed notice of its intent to use Mr.

        Lee’s prior conviction to increase the mandatory minimum sentences for Counts One

        and Five (the “Notice”). JA 78–80. The government attached to the Notice a

        certificate of disposition, which showed that on July 11, 2011 Mr. Lee pleaded guilty

        to criminal sale of a controlled substance in the second degree, in violation of New

        York Penal Law § 220.41. JA 81. Although the New York County Supreme Court

        sentenced Mr. Lee to six years’ imprisonment, id., the government averred that the

        offense of prior conviction carried a statutory maximum sentence of at least ten

        years.2 JA 74–76. A certificate of incarceration appended to the Notice stated that

        Mr. Lee was incarcerated from January 1, 2011 to December 23, 2015, a period of

        nearly five years. JA 82.

              The same day it filed the Notice, the government also filed proposed jury

        instructions and a proposed verdict form. JA 109–202. In both documents, the

        government asked the district court to submit to the jury whether Mr. Lee’s prior


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          According to documentary attachments submitted by the United States, the
        statutory maximum sentence for an offense under New York Penal Law § 220.41
        varied according to the defendant’s criminal history. JA 74–76.

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        drug conviction subjected him to the increased mandatory minimum sentence under

        § 841(b)(1)(A) for Counts One and Five. JA 161–62, 172–73, 200–01. Specifically,

        the government requested that the jury find three facts to determine whether Mr.

        Lee’s prior conviction constituted a “serious drug felony”: (1) whether Mr. Lee’s

        prior conviction was a drug offense punishable by at least ten years’ imprisonment;

        (2) whether Mr. Lee served more than twelve months in prison for his prior

        conviction; and (3) whether Mr. Lee commenced the offenses in Counts One and

        Five within fifteen years of his release from prison for his prior conviction. Id. Mr.

        Lee joined the government in its request for the jury to decide these facts about his

        prior conviction. JA 547.

              The district court rejected the parties’ request, concluding that it could

        permissibly resolve all aspects of the “serious drug felony” analysis without jury

        involvement. JA 790; JA 969–73. After the jury trial completed, then, the district

        court conducted a § 851(c) hearing on whether Mr. Lee’s prior conviction subjected

        him to an increased mandatory minimum sentence. JA 978–87. Relying on three

        post-conviction documents—the New York certificate of conviction, the New York

        certificate of incarceration, and the Superseding Indictment in the instant matter—

        the district court determined that Mr. Lee’s prior conviction constituted a serious

        drug felony under §§ 802(57) and 841(b)(1)(A). JA 990, 992–93.




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              As a result, the district court imposed a total sentence of 340 months’

        imprisonment, which included a concurrent sentence of 280 months’ imprisonment

        on Counts One through Five. JA 1017, 1027. At the sentencing hearing, the district

        court made clear that it fashioned a sentence within the statutory minimum and

        maximum terms of imprisonment after applying the enhanced penalty under

        § 841(b)(1)(A). JA 997, 1025–26. Mr. Lee timely noticed an appeal. JA 1036–53.

                                    STANDARD OF REVIEW

              Because Mr. Lee raised his right to jury determination of these issues before

        the district court, JA 547, review is for harmless—not plain—error. See United

        States v. Catone, 769 F.3d 866, 874 (4th Cir. 2014). The district court’s failure to

        submit those questions to the jury therefore warrants reversal unless the government

        proves “beyond a reasonable doubt” on appeal that the failure to submit the relevant

        questions to the jury was “uncontested and supported by overwhelming evidence”

        such that the jury would have necessarily reached the same result. Id. (quoting

        Neder v. United States, 527 U.S. 1, 17 (1999)).

                                   SUMMARY OF ARGUMENT

              The sentence imposed by the district court should be vacated. Over Mr. Lee’s

        objection (and the government’s), the district court itself determined whether Mr.

        Lee’s prior New York conviction met the definition of a “serious drug felony” under

        the First Step Act. JA 973–74, 986, 994. That was error. Under a well-established



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        line of cases interpreting the Sixth Amendment, sentencing factors that increase a

        defendant’s sentence—as the “serious drug felony” conviction did here—must be

        proven to a jury rather than determined by a judge. See Apprendi v. New Jersey, 530

        U.S. 466, 484, 490 (2000); Alleyne v. United States, 570 U.S. 99, 106 (2013).

              The so-called Almendarez-Torres exception does not apply. See Almendarez-

        Torres v. United States, 523 U.S. 224, 226 (1998). Under that case, a district court

        may constitutionally determine whether a defendant has a prior conviction, provided

        its findings are limited to the mere “fact of conviction.” United States v. Thompson,

        421 F.3d 278, 282–83 (4th Cir. 2005). Facts about a conviction, on the other hand,

        remain the sole province of the jury. The definitional components that make up a

        “serious drug felony” require fact-finding about Mr. Lee’s prior conviction: how

        long he ended up serving, when he was ultimately released, and how much time

        elapsed between that release and his commission of the new offense.              The

        information necessary to make those findings goes well beyond the prior conviction

        itself; indeed, those facts were definitionally unknowable when the prior conviction

        occurred. As they lie outside of Almendarez-Torres’ limited safe harbor, they were

        required to be presented to a jury. They were not.




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                                          ARGUMENT

        I.    A jury—not a judge—must determine whether a defendant has a prior
              “serious drug felony” conviction.

              The government must prove three facts to seek the increased mandatory

        minimum by virtue of a prior “serious drug felony” conviction. See 21 U.S.C.

        § 841(b)(1)(A). The first can typically be determined from statute books: the

        previous offense must be a drug-related offense with a maximum sentence of over

        ten years. 18 U.S.C. § 924(e)(2)(A). But the second and third are fact-intensive and

        defendant-specific: the defendant must have actually served more than twelve

        months and the defendant’s release must have been within fifteen years of the

        commencement of the instant offense. 21 U.S.C. § 802(57).

              As the government itself affirmatively argued before the district court, the

        actual-length-of-imprisonment and release-to-instant-offense determinations are

        constitutionally required to be made by the jury—not by the district court judge—

        because they are facts about a prior conviction that cannot be discerned from any

        charging document, statute, or plea colloquy in the prior proceedings. See JA 306–

        10.

              That is correct. The Fifth and Sixth Amendments require all elements of a

        charge, including any “sentencing factor” that increases the mandatory minimum

        sentence upon conviction, to be proven to a jury. Apprendi, 530 U.S. at 484, 490;

        Alleyne, 570 U.S. at 106. Only one “exceptional departure” from this rule has been


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        sanctioned, and it is inapplicable here; a judge can, without jury involvement,

        increase a sentence based on the mere fact of a prior conviction. Apprendi, 530 U.S.

        at 487–88; see also Almendarez-Torres, 523 U.S. at 226. That departure permits a

        court to consider only topics that “inhere in the fact of conviction” itself—the

        “nucleus” of “operative facts” that were necessarily resolved in reaching the prior

        conviction. See Thompson, 421 F.3d at 282–83. But this so-called Almendarez-

        Torres exception is vanishingly small; if the enhanced minimum turns on any

        extraneous facts—facts about the prior conviction—the issue must be given to the

        jury unless the relevant facts are otherwise affirmatively admitted-to by the

        defendant. Apprendi, 530 U.S. at 490; see also Thompson, 421 F.3d at 283 (noting

        the constitutional “line . . . between data inherent in a prior conviction and those

        facts extraneous to it”). As this Court has described it, only “facts established

        through a prior conviction are excepted from the Sixth Amendment jury trial

        right”—facts, in other words, that are “necessarily established for the conviction to

        have been valid.” United States v. Dean, 604 F.3d 169, 172–73 (4th Cir. 2010); see

        also United States v. Washington, 404 F.3d 834, 839–40 (4th Cir. 2005) (“Sixth

        Amendment protections apply to a disputed fact . . . about a prior conviction.”).

              The limited nature of this exception is made plain by the exceptionally narrow

        range of materials a court can consider on its own. Per Shepard, a court can only

        review documents reflecting the facts essential to the conviction itself: the



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        indictment, statutory definitions, plea-related admissions (if any), and other

        “comparable” reflections of the proven facts in the last proceeding. Shepard v.

        United States, 544 U.S. 13, 26 (2005) (plurality opinion); id. at 26–27 (Thomas, J.,

        concurring); see Washington, 404 F.3d at 840–41. As a general matter, “extra-

        indictment information” is off-limits. Washington, 404 F.3d at 842.

              The district court here ran all these red lights. In conducting the actual-length-

        of-imprisonment and release-to-instant-offense determinations on its own, it

        impermissibly resolved facts about Mr. Lee’s prior conviction using materials that

        played absolutely no role in convicting him. Worse, it only got there by expanding

        the Almendarez-Torres loophole to cover facts not just unavailable but unknowable

        in the prior proceedings. The district court’s application of the mandatory minimum

        therefore violated Mr. Lee’s due process and jury trial rights. The district court’s

        sentence should be vacated with respect to Counts One and Five and the matter

        remanded for resentencing.

              A.    Whether a defendant was previously convicted of a “serious drug
                    felony” requires factfinding about the prior conviction.

              The two fact-specific questions now required for an enhanced mandatory

        minimum under §§ 841 and 802(57)—the actual length the defendant served on the

        prior conviction and the time between the defendant’s release and the

        commencement of the instant offense—are both, at most, facts about a prior

        conviction. Nothing about those questions can be resolved from the nucleus of


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        operative facts of the prior conviction itself. And neither question is “necessarily

        established for the conviction to have been valid.” Dean, 604 F.3d at 172. Indeed,

        the facts necessary to answer those questions arise only after the defendant has been

        convicted, sentenced, incarcerated, and released back into general society.

        Consequently, the actual-length-of-imprisonment and release-to-instant-offense

        determinations necessary for an enhanced minimum under § 841 must be made by

        the jury. See United States v. Fields, 435 F. Supp. 3d 761, 764–65 (E.D. Ky. 2020).

              These questions—and therefore this Apprendi problem—are new, appearing

        for the first time in 2018 with the passage of the First Step Act. Earlier versions of

        § 841 did not require any defendant-specific factfinding: the pre-2018 “felony drug

        offense” inquiry required only an assessment of the statutory maximum sentence

        available on the prior conviction—a sterile fact inherent to the conviction itself and

        one that could be resolved by looking solely at the charging documents and the

        statutes under which charges were brought. See 21 U.S.C. § 802(44) (2016); see,

        e.g., United States v. Higgins, 557 F.3d 381, 398–99 (6th Cir. 2009). The new

        questions, by contrast, seek facts unique to the defendant himself.

              More critically, both questions center on facts definitionally extraneous to the

        conviction itself because they involve future, contingent events that have not yet

        occurred. The actual amount of time a defendant will serve is unknowable at the

        time of conviction because a conviction (like Mr. Lee’s New York prior here) only



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        conveys, at the very most, the statutorily authorized range of potential penalties. See,

        e.g., N.Y. PENAL LAW § 70.71(2)(b)(ii). At the time of conviction, the sentence that

        will be imposed—let alone the sentence that will actually be served—is therefore

        unknowable. Even mandatory minimum sentences are imperfect guideposts, as a

        defendant generally serves less, often considerably less, than the statutorily-

        prescribed minimum. To take just a few examples, a defendant will generally have

        opportunities for good time, parole, and other credits, see, e.g., N.Y. PENAL LAW §

        70.40, and could receive a commutation, pardon, or other form of clemency, see,

        e.g., N.Y. CONST. art. IV, § 4. And even if he doesn’t get out early, his official

        sentence could be retroactively vacated, expunged, or otherwise modified after the

        fact—a sort of relief Mr. Lee argued that he received here. See, e.g., N.Y. CRIM.

        PROC. LAW §§ 440.10, .20; JA 975–76, 984–85. Whether one or more of these

        reductions happened cannot be determined from the fact of conviction itself—and

        so the actual length of imprisonment is unknowable from the fact of conviction itself.

              Determining the time between release and the commencement of the new

        offense requires even more extra-conviction factfinding; neither the start date nor

        the end date of that analysis can be constitutionally resolved by a district court under

        Apprendi. The start date—the day the defendant was “release[d]”—is undiscernible

        from the fact of conviction because, as discussed above, a conviction will only

        convey the potential range of penalties (and even then only imperfectly). 21 U.S.C.



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        §   802(57).      The    end    date   to    the   calculus—the     day   the   “instant

        offense” “commence[d]”—is likewise impossible to know from the fact of the prior

        conviction. Id. The earlier proceedings will have had no occasion to consider, let

        alone definitively resolve, when the defendant might commence some new offense

        in the future.3 Starting a new offense is, in other words, completely unrelated to

        even the facts underlying the prior conviction.

              Nor did the narrow admitted-to-facts exception from Almendarez-Torres

        permit the district court to sidestep the jury here. As in Washington, Mr. Lee

        continues to contest the facts relied on by the district court, maintaining that the time

        he served on the New York conviction was effectively zero by virtue of a vacatur

        motion he filed in state court. Washington, 404 F.3d at 843; JA 975–76, 984–85.

        Contra Thompson, 421 F.3d at 285 (concluding that a district court could consider

        whether a string of prior convictions constituted separate occasions as a matter of

        law in part because the defendant did not contest them). Since he has not

        intentionally relinquished his right to jury determination of these issues by admitting

        any dispositive facts to the district court, the “special circumstances” of Almendarez-

        Torres are inapplicable; the district court could not resolve the questions on its own.

        Washington, 404 F.3d at 843.


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         In fact, the current jury might not have had any occasion to consider that question
        either, as the government ordinarily charges completed offenses—not merely
        commenced ones.

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              Reaching this conclusion poses no risk of embracing the “artificially narrow

        . . . approach” to the universe of facts of a conviction this Court warned of in

        Thompson. 421 F.3d at 282. “A conviction,” that case cautions, “cannot . . . be

        reduced to nothing more than that the defendant was at some prior time convicted of

        some crime.” Id. Rather, it fairly encompasses other “operative facts, such as the

        statute which was violated and the date of conviction.” Id. Those “data” points are

        “as much a part of the conviction as the fact that twelve jurors agreed about the

        defendant’s guilt.” Id. at 282–83. Not so with respect to the questions newly posed

        by the First Step Act, which ask the factfinder to look beyond—well beyond—the

        proceedings that produced the prior conviction.

              Because the facts necessary to make the post-conviction length-of-

        imprisonment and release-to-instant-offense calculations are unknowable from the

        mere fact of conviction itself, they were constitutionally required to be submitted to

        the jury. Apprendi, 530 U.S. at 490; see Fields, 435 F. Supp. 3d at 765. The district

        court’s decision to answer them itself was therefore error, and this Court should

        vacate and remand for retrial or resentencing.

              B.     Resolving whether a conviction is for a “serious drug felony” cannot be
                     accomplished with Shepard-approved documents.

              For similar reasons, the district court’s factfinding exceeded the scope of

        materials it was permitted to consider under Shepard. The lone document the district

        court looked at to reach its length-of-imprisonment and release-to-instant-offense


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        findings—a certificate of incarceration—came into being approximately ten years

        after Mr. Lee was convicted. JA 82–83. It is not a charging instrument, statute, plea

        colloquy, or similar document reflecting the nub of the conviction itself. Shepard,

        544 U.S. at 26. And so it was in no way “conclusively validated in the earlier

        proceeding.” Washington, 404 F.3d at 840. It couldn’t have been. It didn’t exist

        yet. The district court therefore erred in using it.4 This Court should vacate and

        remand for resentencing.

              C.     The plain language of 21 U.S.C. § 851—which the district court read
                     to require judicial factfinding—is irrelevant under the Supremacy
                     Clause.

              The statutory framework does not override the constitutional requirement that

        these questions be submitted to the jury. To be sure, where a defendant “denies any

        allegation of the information of prior conviction,” § 851 directs the district court to

        “hold a hearing . . . before the court without a jury.”       21 U.S.C. § 851(c)(1)

        (emphasis added). The district court here found this language persuasive, noting that

        the statute “requires the court to decide whether defendant has a prior conviction of

        a serious drug felony, including any necessary definitional components of such a

        prior conviction.” JA 969; see also JA 970 (“Thus, these provisions make clear that



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         It does not matter that the document might have been subject to judicial notice.
        Even materials reflecting publicly-available facts—including on subjects like the
        defendant’s age—must be resolved by a jury. Washington, 404 F.3d at 841 n.9;
        United States v. Allen, 446 F.3d 522, 532 (4th Cir. 2006).

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        the fact ‘of a prior conviction’ encompasses a variety of subsidiary findings

        necessary to define or qualify that prior conviction.”).

              But assuming the district court’s reading of § 851 is correct, what the statute

        says is irrelevant if it exceeds constitutional limits. The Constitution, not Congress,

        delimits the scope of judicial factfinding. Apprendi, 532 U.S. at 490; United States

        v. Smith, 451 F.3d 209, 224 (2006).            As the Apprendi Court put it: “It is

        unconstitutional for a legislature to remove from the jury the assessment of facts that

        increase the prescribed range of penalties to which a criminal defendant is exposed.”

        Id. at 490 (quoting Jones v. United States, 526 U.S. 227, 252 (1999) (Stevens, J.,

        concurring)) (alteration omitted). And for reasons already stated, judicial factfinding

        on the definitional components of “serious drug felony” under 21 U.S.C.

        § 841(b)(1)(A) transgresses the constitutional limits recognized in Apprendi and its

        progeny. The plain language of §§ 841 and 851 therefore is of no moment, and the

        district court erred by relying on these statutes to resolve a constitutional issue.

        These missteps subjected Mr. Lee to a mandatory minimum sentence of five years’

        additional imprisonment, an error the Court should rectify. See Washington, 404

        F.3d at 843 (“In these circumstances, the sentence imposed by the district court as a

        result of the Sixth Amendment violation was longer than that to which he would

        otherwise be subject.”).




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              D.     The only other court to squarely consider this issue reached a
                     conclusion exactly opposite from the district court here.

              The district court’s conclusion—that the Sixth Amendment permits judicial

        factfinding of the “definitional components” at issue here—stands alone. Indeed, it

        appears only one other court has squarely considered the issue and that court

        concluded that the precise opposite is true. See Fields, 435 F. Supp. 3d at 763; see

        also United States v. Beal, No. 18-cr-00070, 2021 WL 4524159, at *3 & n.6 (D.

        Haw. Oct. 4, 2021) (observing the discord between Fields and the district court’s

        opinion in this case, while also noting its own “inclination to submit the . . . issue to

        the jury” as the “more conservative approach”).

              In Fields, the court observed that the new “definition of a ‘serious drug

        felony’” under the First Step Act “obligates the government to prove two

        additional facts about a prior conviction.” 435 F. Supp. 3d at 763 (emphasis added).

        These “additional facts,” the court observed, go to “empirical issues, which rise or

        fall based on events occurring only after the conviction,” and so are “by definition

        . . . beyond the ‘fact’ of conviction” and outside “the narrow Almendarez-

        Torres harbor.” Id. at 764. Thus, “Alleyne requires that the jury make findings about

        the length of [the defendant’s] prior imprisonment and the fifteen-year release

        window.” Id. at 765.

              In its decision below, the district court did not cite Fields. Instead, it offered

        four cases for the proposition that “cases that have addressed the issue since


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        enactment of the First Step Act have indicated that the court, not a jury, must

        determine whether the definitional components of §§ 802(57) have been met, under

        the established § 851 procedures.” JA 971. But that assessment dramatically

        overreads those cases. In United States v. Corona-Verduzco, for instance, the

        defendant argued that “the district court failed to inquire about his past convictions,”

        as required by § 851, “claiming prejudice because by his interpretation of the First

        Step Act, he has only one conviction, not two.” 963 F.3d 720, 721–22 (8th Cir.

        2020), cert. denied, 141 S. Ct. 600 (2020). There was no discussion of whether the

        definitional components of a “serious drug felony” could constitutionally be

        determined by the court instead of a jury—indeed, no discussion of the Constitution

        at all.

                  So too in United States v. Johnson, No. 17-cr-00770, 2021 WL 260226, at *8

        (N.D. Ill. Jan. 26, 2021). At issue there was whether the defendant’s prior conviction

        “was categorically broader than the definition of ‘serious drug felony’ because its

        elements did not necessarily entail one of the types of conduct covered by federal

        law.” Id. The Johnson court actually sustained the defendant’s objections on that

        basis, ruling that the enhancement under the First Step Act was improper. Id. And

        while the court did conclude that “the Government had proved beyond a reasonable

        doubt the fact of conviction,” id. at *1, there was again no discussion of whether the




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        Constitution permitted the definitional components of that conviction to be

        determined by a judge.

              United States v. Chavez, 804 F. App’x 525, 526 (9th Cir. 2020), is also off the

        mark. There, the “parties agree[d] that the district judge did not comply” with the

        procedural requirements of § 851 and the Ninth Circuit vacated and remanded for

        resentencing. Id. The defendant challenged on appeal whether his prior conviction

        met the definition of a “serious drug felony,” id., but the question who ought to be

        the factfinder—judge or jury—was again never at issue.

              Of the cases cited by the district court, only United States v. Kendrick is

        arguably apposite. There, the defendant argued that his “sentencing enhancement

        encompassed factual findings that are unconstitutional under the rules announced

        in Alleyne and Apprendi.” 825 F. App’x 77, 79 (3d Cir. 2020), cert. denied, 141 S.

        Ct. 2543 (2021). But in a single paragraph, the Third Circuit largely sidestepped the

        issue, noting only that “Almendarez-Torres is [still] good law.” Id. at 79. “[E]ven

        assuming” a constitutional error, the court added, its review was for plain error and

        the fact of a qualifying prior conviction here was “essentially uncontroverted” both

        below and on appeal. Id. at 79–80. This appeal involves a more searching standard

        of review and factual findings that were directly challenged below. Kendrick has

        limited persuasive value.




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        II.   Almendarez-Torres was wrongly decided and should be overruled.

              Quite plainly, this Court is duty-bound to faithfully apply Supreme Court

        precedent. This fact is far from fatal to Mr. Lee’s appeal; vacatur of his sentence is

        in fact required by Almendarez-Torres and its progeny. Nonetheless, should this

        Court determine that judicial fact-finding of the components of a “serious drug

        felony” is permissible because it falls within Almendarez-Torres’s “prior conviction

        exception,” Smith, 451 F.3d at 224, Mr. Lee expressly reserves the argument that

        Almendarez-Torres was wrongly decided.

              Mr. Lee would not be the first to so argue. Indeed, since it was decided more

        than two decades ago, courts and commentators alike have continued to express

        doubts both about the decision’s initial correctness and its ongoing viability. See,

        e.g., Apprendi, 530 U.S. at 489–90 (noting that “it is arguable that Almendarez-

        Torres was incorrectly decided,” but continuing “to treat the case as a narrow

        exception to the general rule”); Shepard, 544 U.S. at 27 (Thomas, J., concurring)

        (noting that “a majority of the Court now recognizes that Almendarez-Torres was

        wrongly decided”); United States v. Barrera, 261 F. App’x 570, 571 (4th Cir. 2008)

        (noting “some uncertainty regarding the future vitality of Almendarez-Torres”);

        United States v. Rodriguez-Garza, 126 F. App’x 322, 324 (7th Cir. 2005) (“It is true

        that subsequent cases have whittled away at Almendarez-Torres and questioned its

        continuing viability.”); Nancy J. King, Sentencing and Prior Convictions: The Past,



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        the Future, and the End of the Prior-Conviction Exception to Apprendi, 97 MARQ.

        L. REV. 523, 556 (2014) (“The Court was wrong to carve out this prior-conviction

        exception in Apprendi, and it was wrong in Almendarez-Torres.”); Frank O.

        Bowman, III, Debacle: How the Supreme Court Has Mangled American Sentencing

        Law and How It Might Yet Be Mended, 77 U. CHI. L. REV. 367, 393 (2010)

        (“Whatever [Justice] Breyer’s objectives, the result in Almendarez-Torres is wrong

        and the Court’s reasoning dispiritingly lax.”).

              If necessary, and at an appropriate juncture, Mr. Lee aims to advance these

        same arguments here.

                                          CONCLUSION

              For the foregoing reasons, Mr. Lee respectfully requests that the Court enter

        an Order vacating the sentence imposed by the district court and remanding for

        resentencing within constitutional limits.

                        STATEMENT REGARDING ORAL ARGUMENT

              Appellant Austin Kyle Lee believes that oral argument would substantially

        aid this Court in determining whether the district court was required to submit to the

        jury questions related to the definitional components of a serious drug felony under

        21 U.S.C. §§ 802(57) and 841(b)(1)(A).




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        Dated: December 22, 2021                /s/ Nicholas J. Giles

                                                Nicholas J. Giles
                                                George E. Rudebusch
                                                MCGUIREWOODS LLP
                                                Gateway Plaza
                                                800 East Canal Street
                                                Richmond, VA 23219
                                                T: (804) 775-4760
                                                F: (804) 698-2040
                                                ngiles@mcguirewoods.com
                                                grudebusch@mcguirewoods.com

                                                Sean A. McClelland
                                                MCGUIREWOODS LLP
                                                888 16th Street N.W.
                                                Suite 500
                                                Black Lives Matter Plaza
                                                Washington, DC 20006
                                                smcclelland@mcguirewoods.com

                                                Arin Melissa Brenner
                                                OFFICE OF THE FEDERAL PUBLIC
                                                DEFENDER
                                                210 First Street NW
                                                Suite 400
                                                Roanoke, VA 24011
                                                arin_brenner@fd.org

                                                Counsel for Appellant Austin Kyle Lee




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                             CERTIFICATE OF COMPLIANCE

        1.    This brief complies with the type-volume limitation of Federal Rule of

              Appellate Procedure 32(a)(7)(A) because it contains fewer than 30 pages.


        2.    This brief complies with the typeface and type-style requirements of Federal

              Rules of Appellate Procedure 32(a)(5) and 32(a)(6) because it has been

              prepared in proportionally-spaced typeface using Microsoft Word, in 14-point

              size Times New Roman font.



                                             /s/ Nicholas J. Giles
                                             Nicholas J. Giles

                                             Counsel for Appellant
                                             Austin Kyle Lee




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                                  CERTIFICATE OF SERVICE

              I hereby certify that on December 22, 2021, I filed the foregoing with the

        Clerk of the United States Court of Appeals for the Fourth Circuit using the

        appellate CM/ECF system, which will also serve counsel of record.


                                            /s/ Nicholas J. Giles
                                            Nicholas J. Giles

                                            Counsel for Appellant
                                            Austin Kyle Lee




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